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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


SHAWNEQUE' WELLS,                                 Civil Action No.

       Plaintiff,
                                                  COMPLAINT AND DEMAND FOR
vs.                                               JURY TRIAL

GC SERVICES, LP; and DOES 1
through 10, inclusive,

       Defendants.



                                           COMPLAINT

                                      I.      INTRODUCTION

       1. This is an action for actual and statutory damages brought by Plaintiff, Shawneque'

Wells, an individual consumer, against Defendant, GC Services, LP, for violations of the law,

including, but not limited to, violations of the Fair Debt Collection Practices Act, 15 U.S.C. §

1692 et seq. (hereinafter "FDCPA"), which prohibits debt collectors from engaging in abusive,

deceptive, and unfair practices.

                                    II.      JURISDICTION

       2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337 and

§ 1331. Venue in this District is proper in that the Defendant transacts business here and the

conduct complained of occurred here.

                                           III.     PARTIES

       3.   Plaintiff, Shawneque' Wells, is a natural person with a permanent residence in

Houston, Harris County, Texas.



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       4.   Upon information and belief, the Defendant, GC Services, LP, is a corporation

engaged in the business of collecting debt in this state and in several other states, with its

principal place of business located at 6330 Gulfton St., Suite 300, Houston, Harris County, Texas

77081. The principal purpose of Defendant is the collection of debts in this state and several

other states, and Defendant regularly attempts to collect debts alleged to be due another.

       5. Defendant is engaged in the collection of debts from consumers using the mail and

telephone. Defendant regularly attempts to collect consumer debts alleged to be due to another.

Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. § 1692a(6).

                               IV.     FACTUAL ALLEGATIONS

       6. The debt that Defendant is attempting to collect on is an alleged obligation of a

consumer to pay money arising out of a transaction in which the money, property, insurance or

services which are the subject of the transaction are primarily for personal, farnily, or household

purposes, whether or not such obligation has been reduced to judgment.

       7. Within one (1) year preceding the date of this Complaint, Defendant, in connection

with the collection of the alleged debt, stated to Plaintiff that if Plaintiff gave Defendant an

account number Defendant would not attempt garnishment.

       8. Upon information and belief, Plaintiff did give Defendant an account number

       9. Within one (1) year preceding the date of this Complaint, Defendant, in connection

with the collection of the alleged debt, still attempted garnishment.

       10. Within one (1) year preceding the date of this Complaint, Defendant, in connection

with the collection of the alleged debt, attempted to communicate with Plaintiff at their place of

employment after being informed that this inconvenienced Plaintiff and/or was conduct

prohibited by Plaintiffs employer.



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         II. Within one (1) year preceding the date of this Complaint, Defendant, in connection

with the collection of the alleged debt, contact Plaintiff and threatened to take legal action

against Plaintiff.

         12. Defendant has no standing to commence legal proceedings on behalf of the creditor.

         13. Defendant is a debt collection company and as a debt collection company attempting

to collection an alleged debt, Defendant can only refer the matter back to the creditor with a

recommendation that the original creditor attempt legal proceedings.

         14. The representations made to Plaintiff by Defendant regarding legal proceedings were

false.

         15. Within one (I) year preceding the date of this Complaint, Defendant, in connection

with the collection of the alleged debt, Defendant failed to send the required written

communication to Plaintiff within the required time period.

         16. The natural consequences of Defendant's statements and actions were to unjustly

condemn and vilify Plaintifffor her non-payment of the debt she allegedly owed.

         17. The natural consequences of Defendant's statements and actions were to produce an

unpleasant and/or hostile situation between Defendant and Plaintiff.

         18.   The natural consequences of Defendant's statements and actions were to cause

Plaintiff mental distress.

         19. Defendant utilized unfair and nnconscionable means to collect on Plaintiff s alleged

debt, by lying to and misleading Plaintiff.

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                                   V.      CAUSES OF ACTION

                                              COUNT I

             VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                         15 .S.c. § 1692 et seq.

       20.    Plaintiff repeats and realleges and incorporates by reference to the foregoing

paragraphs.

       21. Defendants violated the FDCPA. Defendants' violations include, but are not limited

to, the following:

               (a) Defendant violated §1692c(a)(1) of the FDCPA by communicating at a time

                     or place known or which should be known to be inconvenient to the Plaintiff;

                     and

               (b) Defendant violated §1692c(a)(3) of the FDCPA by communicating with the

                     Plaintiff at the Plaintiffs place of employment when the Defendant knew or

                     had reason to know that the Plaintiff s employer prohibits the Plaintiff from

                     receiving such communication; and

               (c) Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                     consequences of which is to harass, oppress, or abuse any person in

                     connection with the collection of an alleged debt; and

               (d) Defendant violated §1692d(2) of the FDCPA by using obscene or profane

                     language or language the natural consequences of which is to abuse the hear

                     or reader in connection with the collection of an alleged debt; and




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      (e) Defendant violated §1692e of the FDCPA by using a false, deceptive, or

         misleading representation or means in connection with the collection of the

         alleged debt; and

      (f) Defendant violated §1692e(5) of the FDCPA by threatening to take action that

         the Defendant does not intend to take and/or the Defendant cannot legally

         take; and

      (g) Defendant violated §1692e(JO) of the FDCPA by using false representation or

         deceptive means in connection with the collection the alleged debt; and

      (h) Defendant violated §1692fofthe FDCPA by using unfair or unconscionable

         means in connection with the collection of an alleged debt; and

      (i) Defendant violated §1692g(a)(1) of the FDCPA by failing to notify the

         Plaintiff within five     days of the initial communication a written

         communication that including the amount of the alleged debt that the

         Defendant is attempting to collect; and

      (j) Defendant violated §1692g(a)(2) of the FDCPA by failing to notify the

         Plaintiff within five     days of the initial communication a written

         communication that including the name of the creditor to whom the alleged

         debt is owed that the Defendant is attempting to collect; and

      (k) Defendant violated §1692g(a)(3) of the FDCPA by failing to notify the

         Plaintiff within five     days of the initial communication a written

         communication that including a statement that unless the Plaintiff, within

         thirty days after receipt of the notice, disputes the validity of the debt, or any

         portion thereof, the debt will be assumed to be valid by the Defendant; and



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               (I) Defendant violated §1692g(a)(4) of the FDCPA by failing to notify the

                   Plaintiff within five days of the initial communication a written

                   communication that including a statement that if the Plaintiff notifies the

                   Defendant in writing within the thirty-day period that the debt, or any portion

                   thereof, is disputed, the Defendant will obtain verification of the debt or a

                   copy of a judgment against the Plaintiff and a copy of such verification or

                  judgment will be mailed to the Plaintiff by the Defendant; and

               (m) Defendant violated §1692g(a)(5) of the FDCPA by failing to notify the

                   Plaintiff within five days of the          initial communication a written

                   communication that including a statement that, upon the Plaintiff s written

                   request within the thirty-day period, the Defendant will provide the Plaintiff

                   with the name and address of the original creditor, if different from the current

                   creditor.


       22. Defendant's acts as described above were done intentionally with the purpose of

coercing Plaintiffto pay the alleged debt.

       23. As a result of the foregoing violations of the FDCPA, Defendant is liable to the

Plaintiff, Shawneque' Wells, for declaratory judgment that Defendant's conduct violated the

FDCP A, actual damages, statutory damages, and costs and attorney fees.

                                             COUNT II

          VIOLATIONS OF THE TEXAS DEBT COLLECTION PRACTICES ACT

                                             TDCPA§392

       24. Plaintiff repeats, realleges, and incorporates by reference all of the above paragraphs

of this Complaint as though fully stated herein.


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       25. Plaintiff repeats and realleges and incorporates by reference the foregoing

paragraphs.

       26. Defendant violated TDCPA § 392. Defendant's violations ofTDCPA § 392 include,

but are not limited to the following:

           (a) Defendant violated TDCPA § 392.302(1) by using profane or obscene language

               or language intended to abuse unreasonably the hearer or reader; and

           (b) Defendant violated TDCPA § 392.302(4) by causing a telephone to ring

               repeatedly or continuously, or making repeated or continuous telephone calls,

               with the intent to harass a person at the called number; and

           (c) Defendant violated TDCPA § 392.304(19) by using any other false representation

               or deceptive means to collect on the alleged debt or obtain information concerning

               Plaintiff.

       27. Defendants' acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.

       28. As a result of the foregoing violations of the TDCPA, Defendant is liable to the

Plaintiff for actual damages, statutory damages, attorney's fees, interests and costs, as a result of

a violation of the TDCP A.



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                                 VI.    PRAYER FOR RELIEF

   WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant,

GC Services, LP, for the following:

   A. Declaratory judgment that Defendant's conduct violated the FDCPA and TDCPA.

   B. Actual damages.

   C. Statutory damages pursuant to 15 U.S.C. § 1692k and the TDCPA.

   D. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.

   E. Punitive damages.

   F. A warding Plaintiff any pre-judgment and post-judgment interest as may be allowed under

       the law.

   G. For such other and further relief as the Court may deem just and proper.


DATED: April 04, 2013                  RESPECTFULLY SUBMITTED,

                                             By: lsi Kimberly A. Lucas
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                                DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that PlaintiffShawneque' Wells demands trial by jury in this

action on all issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.




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